Case 2:08-cr-00010-EFS   ECF No. 569   filed 05/06/14   PageID.2948 Page 1 of 5
Case 2:08-cr-00010-EFS   ECF No. 569   filed 05/06/14   PageID.2949 Page 2 of 5
Case 2:08-cr-00010-EFS   ECF No. 569   filed 05/06/14   PageID.2950 Page 3 of 5
Case 2:08-cr-00010-EFS   ECF No. 569   filed 05/06/14   PageID.2951 Page 4 of 5
Case 2:08-cr-00010-EFS   ECF No. 569   filed 05/06/14   PageID.2952 Page 5 of 5
